                             Case 3:10-cv-05927-RJB Document 30 Filed 03/30/11 Page 1 of 1
AO 450 (Rev. 5/85) Judgment in a Civil Case r




                                           United States District Court
                                                WESTERN DISTRICT OF WASHINGTON




            MARK BAKER,                                                  JUDGMENT IN A CIVIL CASE

                        v.

            CITY OF EDGEWOOD, et al.                                     CASE NUMBER: C10-5927RJB



            Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and the jury
            has rendered its verdict.

  X         Decision by Court. This action came to trial or hearing before the Court. The issues have been tried or
            heard and a decision has been rendered.


                       THE COURT HAS ORDERED that this case is DISMISSED without prejudice.




                       March 30, 2011                             WILLIAM M. McCOOL
                                                                  Clerk


                                                                  /s/ Dara L. Kaleel_______________________
                                                                  By Dara L. Kaleel, Deputy Clerk
